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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION



UNITED STATES OF AMERICA,                            CR 05-02-BU-DWM

                 Plaintiff,

      V.                                                    ORDER

 MYRNA KNUTSON,

                  Defendant.



      Defendant Myrna Knutson’s unopposed Motion for Early Termination of

Supervision is now before the Court. (Doc. 88.) Having considered the factors in

18 U.S.C. § 3553(a), the conduct of Defendant, and Defendant’s arguments, the

Court is satisfied that early termination is warranted by “the interest ofjustice.   18


U.S.C. § 3583(e)(1). Ms. Knutson is commended for the improvements she has

achieved.

      Accordingly, IT IS ORDERED that Defendant’s motion (Doc. 88) is

GRANTED. As of the date ofthis Order, Defendant’s supervision is terminated.

      DATED this / day of June, 2021.




                                        DonaltTW^Mo Joy, District Judge
                                        United S);ates District Court
